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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

In re INVESTIGATIVE SUBPOENA
DIRECTED TOWARD

FIFTH THIRD BANK

AND CITlBANK,

FILED UNDER SEAL

Miscellaneous No.

Issued by

UNITED STATES COMMODITY
FUTURES TRADING COMMISSION,
Three Lafayette Centre

1155 21st Streec, N.W.

Washington, D.C. 20581

Applicant.

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APPLICATION FOR EX PARTE ORDER
TO DELAY NOTICE OF INVESTIGATIVE SUBPOENAS

PURSUANT TO 12 U.S.C. § 3409

The U.S. Commodity Futures Trading Commission (“Commission”), pursuant to Section
1109 of the Right to Financial Privacy act of 1978 (“RFPA), 12 U.S.C. § 3409 (2012),
respectfully submits this Application for Ex Parte Order to Delay Notice of Investigative
Subpoena (“Application”), and requests that this Court grant an ex parte order delaying for
ninety (90) days the customer notice(s) that may be required under 12 U.S.C. § 3405, related to
personal financial records sought in connection with an on-going investigation by the
Commission’s Division of Enforcement (“Division”).

A delay in the statutory notice requirements is justified here, because:

(l) the investigation being conducted is within the lawful
jurisdiction of the Commission;

(2) there is reason to believe that the records being sought are
relevant to a legitimate law enforcement inquiry; and

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(3) there is reason to believe that such notice will result in
destruction of or tampering with evidence and will
seriously jeopardize the Commission’s investigation;

See 12 U.S.C. § 3409,

The Commission is currently investigating the activities of Randall Rye (“Subject of
Interest”). The Subject of lnterest is suspected to be connected to a possible fraudulent scheme
involving the solicitation of hinds for both managed and pooled investments in certain iinancial
products, including futures contracts and options on futures contracts, commingling investor
ii.mds with personal funds, and misappropriating funds through dissipation and/or personal
investment in futures contracts and options on futures contacts. Based on the Division’s
instigation to date, the misappropriation of investor fimds is suspected to have occurred via some
or all of the Subject of lnterest’s personal accounts at Citibank and Fi&h Third Bank.

The Commission plans to use compulsory process to obtain records for the Subject of
lnterest’s personal accounts in an effort to identify investors and to trace the source and flow of
the investor filnds. (Unsigned copies of the subpoenas the Commission intends to issue are
attached hereto as Exhibits A-B).

In further support of this Application, the Commission submits contemporaneously
herewith a Memorandum of Law in support of the Application,

Through this Application, the Commission respectfully requests that the court issue an ex
parte order pursuant to 12 U.S.C. § 3409, (1) delaying for ninety (90) days from the date of
service of the subpoena any notification requirements under the RFPA of the Commission’s
request and review of the subpoenaed financial records; and (2) prohibiting Citibank and Filih
Third Bank ii'om disclosing that the Commission requested or received these records. (A

proposed Order granting the Application is attached at Exhibit C.)

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WHEREFORE, the Commission respectfully requests that the Court grant this
Application, enter the proposed Order attached as Exhibit C, and grant such other and further

relief as the Court deems just and proper.

Respectfully Submitted,

Dated: March 15, 201? ,
Alison B. Wilson
D.C. Bar No. 4?5992
Chief Trial Attorney
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Dated: Marchl$, 2017 ¢Q ' g. £iép
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U.S. Commodity Futures Trading Commission
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